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 1                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
 2

 3   DANIEL VALENTI, Individually and On               Case No. 3:21-cv-06118-JD
     Behalf of All Others Similarly Situated,
 4                                                     Hon. James Donato
                           Plaintiffs,
 5                                                     [PROPOSED] ORDER APPOINTING
                    v.                                 SELENDY GAY ELSBERG PLLC AS
 6                                                     LEAD COUNSEL
     DFINITY USA RESEARCH LLC, DFINITY
 7   FOUNDATION, and DOMINIC WILLIAMS,
 8                         Defendants.
 9

10         Having considered (i) Lead Plaintiff Henry Rodriguez’s Request to Appoint Selendy Gay
11 Elsberg PLLC as Lead Counsel in the above-captioned action pursuant to the Private Securities

12 Litigation Reform Act of 1995, 15 U.S.C. §§ 77z-1(a)(3)(B)(v), 15 U.S.C. § 78u-4(a)(3)(B)(v),

13 and (ii) the Declaration of Jordan A. Goldstein and attached exhibits thereto in support of the

14 request, it is hereby ORDERED that:

15      1. The request is GRANTED.
16      2. The Court appoints the law firm Selendy Gay Elsberg PLLC as Lead Counsel in this action.
17      3. Lead Counsel shall be generally responsible for coordinating activities during pretrial
18         proceedings and shall:
19             a. Determine and present (in briefs, oral argument, or other fashion as may be
20                appropriate, personally or by a designee) to the Court and opposing parties the
21                position of Lead Plaintiff and the proposed class on all matters arising during
22                pretrial proceedings;
23             b. Coordinate the conduct of discovery on behalf of Lead Plaintiff and the proposed
24                class consistent with the requirements of Rule 26 of the Federal Rule of Civil
25                Procedure, including preparation of interrogatories and requests for production of
26                documents and the examination of witnesses in depositions;
27             c. Conduct settlement negotiations on behalf of Lead Plaintiff and the proposed class;
28
                     [PROPOSED] ORDER APPOINTING LEAD COUNSEL – No. 3:21-cv-06118-JD
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 1             d. Enter into stipulations with opposing counsel as necessary for the conduct of the

 2                 litigation;

 3             e. Prepare the case for and conduct trial; and

 4             f. Perform such other duties as may be incidental to the proper coordination of pretrial

 5                 and trial activities or authorized by future order of the Court.

 6    4. All class actions raising similar claims subsequently filed in or transferred to the United

 7          States District Court for the Northern District of California shall be consolidated into this

 8          action, and this Order shall apply to every such action, absent any further order of the Court.

 9 Dated:                        , 2023
10
                                                           Honorable James Donato
11                                                         United States District Judge
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                      [PROPOSED] ORDER APPOINTING LEAD COUNSEL – No. 3:21-cv-06118-JD
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